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15
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16
     MATT JONES; BRYSON DECHAMBEAU;                   Case No. 5:22-CV-04486-BLF
17   PETER UIHLEIN; and LIV GOLF, INC.,
                                                      PGA TOUR, INC.’S REPLY IN SUPPORT
18                  Plaintiffs,                       OF MOTION FOR LEAVE TO AMEND
                                                      COUNTERCLAIM TO ADD COUNTER-
19             v.                                     DEFENDANTS

20   PGA TOUR, INC.,                                  Date:         May 18, 2023
                                                      Time:         9:00 a.m.
21                  Defendant.                        Courtroom:    3
                                                      Judge:        Hon. Beth Labson Freeman
22
     PGA TOUR, INC.,                                  Date Filed:   August 3, 2022
23
                    Counter-Claimant,                 Trial Date:   January 8, 2024
24
               v.
25
     LIV GOLF, INC.,
26
                    Counter-Defendant.
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 1   I.        INTRODUCTION

 2             Plaintiffs’ Opposition fails to rebut the presumption that amendment should be liberally

 3   granted. Plaintiffs articulate no prejudice because there is none. Plaintiffs know the true facts

 4   about the central role that PIF and Mr. Al-Rumayyan played in creating LIV, recruiting players,

 5   urging them to remain TOUR members while breaching their agreements with the TOUR, and

 6   bringing this lawsuit. They also all share the same lawyers. Because Plaintiffs have not

 7   established any prejudice, the presumption in favor of granting leave to amend applies. See

 8   Eminence Cap., LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003).

 9             Instead, Plaintiffs distort the TOUR’s allegations to manufacture a baseless futility

10   argument. Plaintiffs misconstrue the TOUR’s counterclaim as alleging “interference with an at-

11   will contract” by urging players to “resign from the Tour.” Opp. at 1. But that is not what the

12   TOUR alleges. The counterclaim is directed at LIV players who attempted to remain with the

13   TOUR, despite joining LIV, and who materially breached their TOUR contracts. See Dkt. 237-1

14   (Proposed Amended Counterclaim) ¶ 1. Nor did LIV, PIF, and Mr. Al-Rumayyan simply urge

15   players to resign. To the contrary, they induced players to breach provisions in the TOUR’s

16   regulations governing media rights and competing event obligations, all while insisting that these

17   players remain TOUR members despite their material breaches. LIV, PIF, and Mr. Al-Rumayyan

18   induced those breaches by offering LIV contracts that compelled the breach of TOUR contracts,

19   piles of cash, and promises to fund the players’ defenses and indemnify their breaches. This isn’t

20   an “at will” case; it’s a classic tortious interference case. If LIV wishes to challenge the TOUR’s

21   amendment on a Rule 12 motion, it is free to try, but that does not make amendment futile.

22             Plaintiffs’ claims of delay and bad faith likewise ring hollow since any delay is

23   attributable solely to LIV and its owner, PIF. After all, counsel for Plaintiffs assured this Court

24   that they would cooperate in obtaining discovery from PIF; they have failed to do so. Because all

25   the factors support granting leave to amend, the TOUR’s Motion should be granted.

26   II.       PLAINTIFFS HAVE NOT ESTABLISHED ANY COGNIZABLE PREJUDICE.

27             Under Rule 15, “[t]he undue prejudice which a court must guard against is that prejudice

28   which would cause a party undue difficulty in prosecuting a lawsuit as a result of a change of

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 1   tactics or theories on the part of the [moving] party.” Braun v. Norton, 2006 WL 8459605, at *4

 2   (N.D. Cal. Jan. 27, 2006) (emphasis added). Because the TOUR has not changed its “theor[y] of

 3   the case” against Plaintiffs, Plaintiffs cannot establish any prejudice. Dean Markley USA, Inc. v.

 4   Cenveo Corp., 2015 WL 1843708, at *2 (N.D. Cal. Apr. 7, 2015).

 5             Plaintiffs contend that delay will negatively affect “LIV’s brand” or harm the few

 6   remaining players in the case. Opp. at 8. These alleged harms are not cognizable because the

 7   prejudice inquiry focuses on “difficult[ies] in prosecuting a lawsuit,” Braun, 2006 WL 8459605,

 8   at *4, and Plaintiffs’ complaints do not qualify. Even if these harms were cognizable under Rule

 9   15, they are speculative, unsupported attorney say-so. Moreover, the greatest risk of delay in this

10   case stems not from the TOUR’s proposed amendment, but the refusal of LIV’s 93% owner PIF

11   and Mr. Al-Rumayyan to produce discovery. Indeed, PIF’s refusal to honor its commitment to

12   produce discovery has already rendered the existing case schedule untenable, particularly in light

13   of Magistrate Judge van Keulen’s recent order on discovery from PIF and Mr. Al-Rumayyan. See

14   Dkt. 265 (Order). In short, Plaintiffs have identified no material prejudice, and the presumption in

15   favor of granting leave to amend applies. See Eminence Cap., 316 F.3d at 1052.

16   III.      AMENDMENT IS NOT FUTILE.
17             A.     Plaintiffs misstate the futility standard.
18             Plaintiffs erroneously rely on the Rule 12(b)(6) standard to argue that the TOUR’s

19   proposed amendment is futile. Opp. at 4. But Rule 12 does not apply here. Instead, Plaintiffs bear

20   the “heavy burden” of showing that the TOUR is unable to allege any “set of facts . . . that would

21   constitute a valid claim.” Unicorn Energy GMBH v. Tesla Inc., 2022 WL 16528138, at *2 (N.D.

22   Cal. Oct. 28, 2022). They have failed to do so. If Plaintiffs wish to challenge the adequacy of the

23   amended pleading, their “arguments are better left for full briefing on a motion to dismiss.” Id.

24   Indeed, Plaintiffs have already claimed that they plan to “file a motion for judgment on the

25   pleadings,” Dkt. 255 (Joint Statement re Request for CMC) at 21, so arguments about the

26   sufficiency of the TOUR’s allegations should be addressed at that time.

27             B.     The TOUR’s proposed amendment states a non-futile claim.
28             Plaintiffs’ main futility arguments are that (1) under California law, the TOUR must

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 1   identify independently wrongful conduct because the interfered-with contracts are supposedly “at

 2   will” and (2) the tortious interference counterclaim hinges on First Amendment protected

 3   conduct. See Opp. at 4-7. Plaintiffs’ arguments fail for at least five reasons.

 4             First, Plaintiffs’ caselaw on at-will contracts is inapposite because those cases do not

 5   address the inducement of material breaches of contract, which is what the TOUR has alleged. In

 6   Reeves v. Hanlon, the California Supreme Court explained that termination of an at-will contract

 7   according to its terms constituted “no breach.” 33 Cal. 4th 1140, 1152 (2004). Likewise, in Ixchel

 8   Pharma, LLC v. Biogen, Inc., the California Supreme Court did not address any material breach

 9   of contract, since the third party “terminated the agreement according to its terms.” 9 Cal. 5th

10   1130, 1140 (2020). By contrast, the TOUR has alleged that LIV, PIF, and Mr. Al-Rumayyan

11   induced players to breach contractual provisions unrelated to termination, including provisions

12   governing “[m]edia [r]ights and [c]onflicting [e]vents [o]bligations,” Dkt. 237-1 at 72—all while

13   prompting those players to assert that they were free to remain with the TOUR despite these

14   willful breaches of TOUR contracts.

15             To that end, California law has not imposed an “independent wrongfulness requirement”

16   where a defendant “induces the breach of . . . otherwise enforceable term[s]” like those here.

17   Reeves, 33 Cal.4th at 1153 n.7; First Fin. Sec., Inc. v. Freedom Equity Grp., LLC, 2017 WL

18   3593369, at *6 n.5 (N.D. Cal. Aug. 21, 2017) (“It is not clear that a plaintiff must prove an

19   independently wrongful act” when defendant “facilitated [the employees’] breach of the non-

20   recruitment and confidential information provisions” in their agreements.). By inducing players to

21   agree to LIV’s contracts, which “guaranteed LIV de facto exclusivity for multiple years,” several

22   TOUR players “were promising to repeatedly breach” the TOUR’s regulations. Dkt. 237-1 ¶ 56.

23   LIV, PIF, and Mr. Al-Rumayyan all knew that they were inducing golfers to “violate their TOUR

24   contracts if they played in LIV events that conflicted with TOUR tournaments,” id. ¶¶ 65-66, but

25   still encouraged players to remain with the TOUR and promised to indemnify them for these

26   breaches, see id. ¶ 44.

27             Second, Plaintiffs assume without any explanation that California law governs the

28   TOUR’s counterclaim. See Opp. at 4-7. This is an open question because Florida—where both the

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 1   TOUR and LIV have their principal places of business, Dkt. 237-1 ¶¶ 8, 11—may have an

 2   overriding interest in the application of its tort law in this dispute. See Aldrich v. Nat’l Collegiate

 3   Athletic Ass’n, 484 F. Supp. 3d 779, 798 (N.D. Cal. 2020) (applying Arizona law instead of

 4   California law because plaintiff suffered harm in Arizona and “actions giving rise to the claim did

 5   not occur in California”). Florida law does not require a separate wrongful act for tortious

 6   interference with “at will” contracts. Rather, the defendant bears the burden of showing that its

 7   interference was justified or privileged. Rosenbaum v. Becker & Poliakoff, P.A., 2010 WL

 8   376309, at *6 (S.D. Fla. Jan. 26, 2010). Thus, Plaintiffs cannot claim futility by relying on

 9   California law if Florida law, which is materially different from California’s, applies.

10             Third, even if the “independent wrongfulness” requirement applies, the TOUR has alleged

11   independently wrongful acts. The TOUR has alleged that, while tortiously interfering with TOUR

12   contracts, LIV, PIF, and Mr. Al-Rumayyan recruited players to induce the breaches of other

13   additional TOUR contracts. See Dkt. 237-1 ¶ 75. Inducing a breach of contract is a distinct tort

14   that, standing on its own, is wrongful. See Ixchel, 9 Cal. 5th at 1146; 625 3rd St. Assocs., L.P. v.

15   Alliant Credit Union, 633 F. Supp. 2d 1040, 1048 (N.D. Cal. 2009). The TOUR has also alleged

16   that LIV, PIF, and Mr. Al-Rumayyan made various misrepresentations to players in inducing

17   them to breach TOUR contracts, such as misleading players who were “concerned about the

18   consequences of breaching their agreements with the TOUR.” Dkt. 237-1 ¶ 67; id. ¶¶ 66, 68-69.

19             Fourth, under no circumstances is amendment futile because, even accepting LIV’s

20   incorrect argument at face value, the TOUR could easily amend to add a separate claim for

21   inducing breach of contract, which does not require alleging an independently wrongful act.

22   Vanguard Logistics Servs. (USA) Inc. v. Groupage Servs. of New England, LLC, 2022 WL

23   1601389, at *8 n.5 (C.D. Cal. Feb. 8, 2022). To that end, the TOUR intends to add this cause of

24   action to its amended counterclaim without including any more factual allegations.

25             Finally, amendment is not futile because the amended counterclaim does not turn on

26   “First Amendment protected conduct.” Opp. at 6. Plaintiffs distort the TOUR’s allegations by

27   claiming that the TOUR “seeks to impose liability . . . for inducing a potentially meritorious

28   lawsuit.” Id. at 7 (internal quotation marks omitted). Plaintiffs entirely ignore a core theory of the

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 1   TOUR’s counterclaim: LIV, PIF, and Mr. Al-Rumayyan’s insistence that players remain with the

 2   TOUR while inducing such players to knowingly breach TOUR provisions governing media

 3   rights and conflicting event obligations. These allegations are unrelated to Plaintiff’s meritless

 4   lawsuit against the TOUR.

 5   IV.       ANY DELAY WAS CAUSED BY PLAINTIFFS’ OBSTRUCTIONISM.
 6             Plaintiffs do not dispute that the TOUR seeks leave to amend based on discovery

 7   belatedly produced by LIV in late December 2022, including the Shareholders’ Agreement.

 8   Moving for leave to amend based on this recently produced evidence “does not cause undue

 9   delay.” Story v. Midland Funding LLC, 2016 WL 5868077, at *4 (D. Or. Oct. 7, 2016).

10             Plaintiffs contend that the TOUR could have sought leave to amend in August or October

11   2022. Opp. at 9. But this argument is “unavailing because [the TOUR] allege[s] that the new

12   evidence”—including the Shareholders’ Agreement—“supports new factual contentions.”

13   InjuryLoans.com, LLC v. Buenrostro, 2020 WL 1941025, at *1 (D. Nev. Apr. 22, 2020). Any

14   delay lies with Plaintiffs. During the August status conference, counsel for Plaintiffs/PIF told the

15   Court that discovery from PIF would “come together swimmingly.” Dkt. 238 (TOUR’s Motion

16   for Leave to Amend) at 4. Despite Plaintiffs’ representation to the Court, and even after accepting

17   service of the TOUR’s subpoenas, PIF and Mr. Al-Rumayyan stonewalled discovery based on

18   personal jurisdiction and sovereign immunity defenses that Judge van Keulen recently addressed.

19   V.        THE TOUR’S MOTION WAS BROUGHT IN GOOD FAITH.
20             On the last factor, Plaintiffs claim that the TOUR’s “motive is to delay” because Judge

21   van Keulen addressed “every issue raised” in the current motion. Opp. at 10. Not so. The prior

22   discovery motions did not address PIF and Mr. Al-Rumayyan’s status as parties. Nor is the

23   TOUR “using [its counterclaim] to delay trial on Plaintiffs’ antitrust claims.” Id. PIF and Mr. Al-

24   Rumayyan have unique information relevant to the TOUR’s counterclaim and Plaintiffs’ claims.

25   Accordingly, the TOUR’s current motion seeks to expeditiously prosecute the TOUR’s

26   counterclaim by joining PIF and Mr. Al-Rumayyan as critical parties to this litigation.

27   VI.       CONCLUSION
28             The TOUR’s Motion for Leave to Amend should be granted.

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